Case 4:18-CV-00256-KGB Document 1-1 Filed 04/16/18 if>age 1 of 1
CIVIL CovER SHEET 4116/01/ 1510

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judiciai Conference oftiie Umted States in Septeinber 1974, is required for the use oftiie Clcrk of Court for the
purpose of initiating the civil docket sheet. (SEE lNSTRUCT/GNS ON NEXI°PAGE OF THIS FORA'[.) '

I. (a) PLAiNTIFFS DEFENDANTS
Jean Evans Petco Animai Supp|ies Stores, inc.

JS 44 (Rev. 06/17)

County of Residence of First Listed Defendant _Q`El“l1»1(§_)_1'§1»3_“d 4 M W'
(IN U,S. PLAINTIF[" CASES ONLY)

iN LAND CONDEMNAT!ON CASES, USE THE LOCATION OF
THE TRACT OF LAND iNVOLVED.

(b) County of Residence of`First Listed Plaintiff _“__ m w ______w
(EXCEPT[N U.S. PLA/NT[FF CASES)

 

NOTE:

AttOmCyS (llemw/x)

Jason Goodnight; Franden, Farris, Quiiiin, Goodnight & Roberts; 2 W.
2nd St., Ste. 900, Tuisa, OK 74103; 918-583-7129

(C) AttOm€yS (Firm Name, Addrt'.rs, and Te[epllane Number)

Andrew 1V1. Tayior; Tayior & Tayior Law Firm, 12921 Cantreii Rd., Ste.
205, Littie Rock, AR 72223; 501-246-8004

 

 

 

 

 

 

    

 

 

 

 

 

 

 

 

     

 

 

Il. BASIS OF JURISD!CTION {Plnce an "X"in one Ba.\' Onl_v) II!. CITlZENSH!P OF PRINCIPAL PARTIES (l’lm.'e an "X" in One Bn.r_fnl‘Plai/ll{[f
(For Diverxiry Cm'ex Only) and Om' Bo.\'far DL'/L'nd(ml)
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l `3` "CONTRACT":f ' `Y"~ ` ~' '~ 1 ;y / "I'ORTS ` `“ f ` '~" FORFE!TURE/PENALTY` FBANKRUPTCY ' ' ` ~OTHER STATUTES ' l
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13 190 Other Col\tract Prodnct Liabiiity 13 380 Other Personai fl 720 l.abor/Mnnagelnent L'.i 863 DiWC/DiWW (405(§)) Exci\ange
13 195 Contract Product Liability 13 360 Other Personal Property Damuge Rela\iuns 13 864 SSiD Titie XVi 13 890 Olher Slatutory Actions
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26 USC 7609

Acr/Revie\v or Appeal of
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Ci 230 Rent Lease & Ejecnnent
13 240 Torts to Land

13 442 En\ployment
D 443 Housing/

    

 

13 245 Tort Product Liabiiity Accommodations U 530 General 13 950 Constitutiona|ily of
13 290 Aii Other Reui Property D 445 Amer. w/Disabiiities - 13 535 Dealh i’enai\y ilMMIGRA»T'iON` 1 State Statutes
Empioymcn\ Other: D 462 Naturaiizatinn Appiicatinn

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13 448 Education

 

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13 540 Mandz\mus & Othcr

D 550 Civii Rights

Cl 555 Prison Condition

0 560 Civii Detainee -
Conditions of
Confincmcnl

 

 

Ci 465 Othcr immigration
Aclions

 

 

 

V. ORIGIN (Place an "X" in Gne Box Only)

13 1 Originai KZ Removed from D 3 Remanded from 13 4 Reinstated or 13 5 Tmnsfcn~cd from 13 6 Multidistrict EJ 8 Multidistrict
Procecding State Court Appellate Court Reopened Anmhcr Dis{rict Litigation - Litigation -
(spec/'A)) 'I`ranst`er Direct File

 

VI. CAUSE OF ACTION

 

Personai injujry

Ciie the U.S. C1V11 S¥aiut€ tinder WlliCh you are filing (Dr) not citejuri.\`rlicriu/rul slututes luz/exs clivarsify):
28 USC Section 1332(a), 1441 and 1446

Brief description of cause:

 

 

 
 
   

 

 

 

VII. REQUESTED IN 13 cHEcK IF THIS ls A CLASS Ac 0N DEMAND s CHECK YES only ifdemunded in complaim:

COMPLAINT: UNDER RULE 23, F-R-Cv~PM 75,000.00 JURY DEMAND: 151 Yes DNQ
vIn. RELATED cASE(s) ' y '

IF ANY (See ”ls!rucuons): JU E DOCKET NUMBER 47 umw b v div *"*r A¢ m
DATE
04/13/2018
FOR OFFlCE USE ONLY

AMOUNT JUDGE MAG. .IUDGE

RECEIPT #

 

